
56 Cal.Rptr.3d 475 (2007)
154 P.3d 1001
PEOPLE
v.
BRANDON (Marlon).
No. S149371.
Supreme Court of California.
March 28, 2007.
*476 Review granted/briefing deferred (8.512(d)(2) criminal case).
The petition for review is granted. Further action in this matter is deferred pending further order of the court. (See Cal. Rules of Court, rule 8.512(d)(2).) Submission of additional briefing, pursuant to California Rules of Court, rule 8.520, is deferred pending further order of the court.
GEORGE, C.J., KENNARD, BAXTER, WERDEGAR, CHIN, MORENO, and CORRIGAN, JJ., concur.
